Case 1:21-cr-00386-TNM Document 110 Filed 02/08/22 Page 1 of 2

By: Pauline; Bauer:

EXECUTOR

   

PAULINE BAUER: VESSEL

 
      

A Te i
3 ae BOs aesar, Clerk of Court
Ourt, Districg of Columbia

  

      
 

Leave to file GRANTE

TREVOR N. MCFADDEN Yer
United States District Judge

UNITED STATES OF AMERICA

VS case number # 21-cr-00386-TNM-2
PAULINE BAUER

Request for Discovery
This discover is requested by the defense for the date January 6, 2021
CCTV camera Rotunda North from 1:00 pm-5:00 pm
CCTV camera Rotunda South from 1:00pm-5:00pm
CCTV camera Rotunda East from 1:00pm-5:00pm
CCTV camera Rotunda West from 1:00pm-5:00 pm
CCTV camera Interior Columbus Doors from 9am-4pm
CCTV camera Interior and Exterior Senate Wing doors 9:00am-5:00pm
CCTV camera Interior and Exterior UWT Doors from 1:00pm-5:00pm
CCTV camera Interior and Exterior Parliamentarian Doors 1:00pm-5:00pm
All outside footage of the East side of the capitol from 11:00am-5:00pm
Footage of the panel boxes for the brass exterior doors (how they got opened)
Footage of the House of Representatives from 1:00pm-4:00pm and 8:00pm-3:00am
Footage in the Senate from 8:00pm-3:00am
Footage of the hallway leading into the Senate from 1:00pm-5:00pm

Footage of the hallway leading into the House of Representatives from 1:00pm-5:00pm
Case 1:21-cr-00386-TNM Document 110 Filed 02/08/22 Page 2 of 2

A complete list and profile of.all'capitol officers’ present at the capitol and their location on January 6,
2021

A complete list and profile of all DC Metro Police present at the capitol and their location on January 6,
2021 f

A Complete list of all people given clearance (not including Senators and Representatives) to be in the
capitol including the press on January 6, 2021

Identify and profile of these people on Axon body X6039BD07:

14:16:09 Man in HMRT sweatshirt, black mask, gray pants, glasses,

14:44:26 USCP blue jacket, black bicycle helmet

14:44:30 Officer in black and blue helmet, beard, mustache, sunglasses

14:15:01 cameraman in blue shirt, tan pants, black vest (he is also in Senate)

14:16:38 young man in suit, blue shirt, red tie, black mask

14:16:50 identify these doors

14:16:53 man with blue jeans, gray jacket, black backpack, badge around his neck
14:17:18 man in blue jeans, tennis shoes, black hoodie, black mask, badge around his neck

14:56:39 man with long white hair, black coat, flag around his neck, carrying flag and cell phone and his
plea deal

14:57:42 officer with white bicycle helmet fingers up to his mouth, no mask

Axon body cam S6039BF8E 14:58:33 Identity and Profile the man in the blue flannel shirt, Identity and
profile of the man with the tan jacket, red maga hat, Identity and profile of man in black beanie hat,
green coat with reddish beard and mustache

Profiles and background history of Marina Bronstein, Matthew Lapitsky, Robert Marsh, Benjamin Rubin,
Travis Cooley

Footage of the west side of the capitol where the gallows were erected (where was security on this
issue?)

The complete insurance claim of all damages with photos and the bill from the construction company
that completed the work.

Other than the camera footage, | would prefer a paper copy of the profiles and lists of people, just in
case | do not have access to a laptop.

Made b ny land of this 26" day January, 2022
By, + Cpile «. Lets

 

Sui Juris
